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                    SIN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TENNESSEE
                              EASTERN DIVISION

     UNITED STATES OF AMERICA,            |
                                          |
           Plaintiff,                     |
                                          |
     v.                                   | Case No. 1:17-CR-10067-7-STA
                                          |
     DINA EVANS,                          |
                                          |
           Defendant.                     |


          ORDER ON AMENDED MOTION TO CONTINUE SENTENCING
                  HEARING AND NOTICE OF RESETTING


           Upon motion of the defendant Dina Evans for Motion to Continue Sentencing

     Hearing on May 14, 2019, without objection from the Government, and for good

     cause shown, IT IS HEREBY ORDERED that this matter is continued to May 31,

     2019 at 11:00 a.m.




                                      s/S. Thomas Anderson
                                      S. THOMAS ANDERSON
                                      CHIEF UNITED STATES DISTRICT JUDGE


                                      5/13/2019
                                      DATE
